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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  JASON BICKFORD

         Plaintiff,

  v.

  CITY AND COUNTY OF BROOMFIELD, COLORADO; and
  OFFICER ANTHONY TEETERS, individually,

        Defendants.
  ______________________________________________________________________________

                         COMPLAINT AND JURY DEMAND
  ______________________________________________________________________________

         Plaintiff, Jason Bickford, through his counsel, Michael P. Fairhurst and Darold W.

  Killmer of KILLMER, LANE & NEWMAN, LLP, respectfully alleges for his Complaint and Jury

  Demand as follows:

                                       I.    INTRODUCTION

         1.      This is a civil rights action based on Defendants’ brutal and manifestly unjustified

  beating of the Plaintiff, Jason Bickford, in violation of his clearly established rights secured by

  the Fourteenth Amendment to the United States Constitution.

         2.      On October 2, 2019, Defendant Master Police Officer (MPO) Anthony Teeters of

  the Broomfield Police Department arbitrarily stormed into Mr. Bickford’s single-person cell in

  the Broomfield Detention Center like a charging bull. He immediately forcibly struck Mr.

  Bickford’s collarbone area without issuing commands of any kind.




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         3.       Defendant Teeters then unjustifiably flung Mr. Bickford around and forcefully

  slammed him head and face-first into a concrete wall, before tackling him to the concrete floor

  on his stomach.

         4.       Once Mr. Bickford was on the ground, Defendant Teeters intermittently choked

  Mr. Bickford and crushed his face into the concrete floor as Mr. Bickford begged him for mercy

  when he could breathe.

         5.       At no relevant time was Defendant Teeters justified in using any physical force on

  Mr. Bickford, much less the crushing physical force to which he sadistically subjected Mr.

  Bickford. At no relevant time did Mr. Bickford harm or threaten to harm anyone, or otherwise

  resist law enforcement.

         6.       Mr. Bickford was never even charged with, much less convicted of, any criminal

  offense related to his conduct in the Broomfield Detention Center.

         7.       Defendant Teeters, in subjecting Mr. Bickford to grossly excessive force, was at

  all times acting consistent with and pursuant to the City and County of Broomfield’s policies and

  practices. With deliberate indifference to its obligation to comply with the mandates of the

  Constitution, Defendant Broomfield tolerates, condones, encourages, and ratifies the excessive

  use of force among its law enforcement. This includes Defendant Teeters’ gratuitous beating of

  Mr. Bickford.

         8.       As a result of Defendants’ excessive and unconstitutional use of force against Mr.

  Bickford, he has suffered serious and lasting injuries, including but not limited to significant and

  ongoing trauma to his head and face, and severe emotional distress.

                               II.     JURISDICTION AND VENUE

         9.       Jurisdiction over Plaintiff’s claim is conferred upon this Court pursuant to 28



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  U.S.C. § 1331 and § 1343(a)(3), and this case is brought pursuant to 42 U.S.C. § 1983.

  Jurisdiction supporting Plaintiff’s claim for attorney fees is conferred by and brought pursuant to

  42 U.S.C. § 1988.

         10.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391(b). All

  of the events described herein occurred within the State of Colorado, and all of the parties were

  residents of the State of Colorado at all relevant times stated herein.

                                           III.    PARTIES

         11.     At all times relevant, Plaintiff Jason Bickford was a resident of the State of

  Colorado and a citizen of the United States of America.

         12.     At all times relevant, Defendant Anthony Teeters was a citizen of the United

  States and a resident of the State of Colorado, and was acting under color of state law in his

  capacity as a master police officer employed by the Broomfield Police Department (“BPD”).

  Defendant Teeters is sued in his individual capacity.

         13.     Defendant City and County of Broomfield, hereinafter “Broomfield,” is a

  Colorado municipal corporation and is the legal entity responsible for itself, Broomfield

  Detention Center, and the BPD, including all of those entities’ customs, policies, and practices.

                                  IV.     STATEMENT OF FACTS

         The BPD arrests Mr. Bickford at his home for a minor alleged offense without
         incident.

         14.     On the morning of October 2, 2019, Mr. Bickford and his fiancée at the time had

  a disagreement while they were inside his home.

         15.     Mr. Bickford’s fiancée pushed him into a wall during their argument, and she then

  stormed out of the house.




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         16.      Around lunchtime, Mr. Bickford’s fiancée returned home from work with a few

  work friends.

         17.      Shortly thereafter, Mr. Bickford left his home to go for a walk.

         18.      Mr. Bickford's fiancée’s friends convinced her to call the police, which she did.

         19.      Broomfield police initially contacted Mr. Bickford as he was walking around the

  neighborhood. The involved officers included but were not necessarily limited to BPD Officers

  Randy Pihlak and Dustin Cornett.

         20.      Once back at Mr. Bickford’s apartment, the two officers arrested Mr. Bickford’s

  fiancée for assaulting him during their argument earlier that day, in the morning.

         21.      After the argument with his fiancée, Mr. Bickford had damaged a bookshelf

  (including an iPad and some books that fell off the shelf) while he was alone in his home. He

  was aggravated by a malfunctioning computer at the time.

         22.      Because of the broken objects, Mr. Bickford was accused of criminal mischief,

  even though it was in fact unrelated to the disagreement he and his fiancée had.

         23.      As a result, the two officers on scene took Mr. Bickford into BPD’s custody at

  around 7:18 pm outside of his home. The arrest transpired without incident.

         24.      The two officers then transported Mr. Bickford to the Broomfield Detention

  Center, also without incident.

         Mr. Bickford becomes increasingly frustrated with his arrest after he arrives at the
         jail, but (still) does not threaten to harm anyone or attempt to harm anyone.

         25.      Mr. Bickford was upset about having been arrested by the time he arrived at the

  jail. Mr. Bickford believed that he was first and foremost the victim of a physical assault and had

  done nothing wrong that would have justified his arrest and detention in jail.




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          26.     Because Mr. Bickford seemed dismayed, jail staff skipped the typical booking

  process, including taking booking photos, during Mr. Bickford’s admission to jail and instead

  placed him in a small single-person holding cell around 7:53 pm.

          27.     Because Mr. Bickford was unhappy about being kept in the cramped, lonely, and

  extremely uncomfortable holding cell, he decided to feign a suicide attempt in hopes of being

  transferred to what he believed to be the less unpleasant medical unit. Mr. Bickford’s seemingly

  indefinite confinement in the tiny, cold holding cell added to insult to injury from his

  perspective, as he believed that he had no business being in the jail in the first place.

          28.     Mr. Bickford tied one of his shoelaces around his neck in front of one of the

  surveillance cameras in his cell.

          29.     Around 8:13 pm, Officer Logan Ross and Defendant Teeters responded to Mr.

  Bickford’s cell, opened his cell door, and began to speak with him.

          30.     Mr. Bickford continued to communicate that he was upset about his arrest and

  resulting detention in jail.

          31.     Officers Heidi Scott, John Heaton, Ericka Mazzocco, and Jonathan Skigen arrived

  shortly thereafter.

          32.     Officer Scott took over speaking with Mr. Bickford at his cell entrance.

          33.     Meanwhile, Officer Mazzocco obtained a suicide smock for Mr. Bickford. The

  primary issue at this time was that Mr. Bickford may present a threat to himself (based on his

  feigned suicide attempt) but not others.

          34.     While Mr. Bickford left no doubt that he was displeased with his situation at the

  time, he did not threaten to harm any of the officers, nor did he attempt to harm any of them. Mr.

  Bickford also did not ever say anything indicating that he presented a threat to himself. It was



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  evident that he had feigned a suicide attempt in view of a surveillance camera merely to cause

  officers to come to his cell door.

         Defendant Teeters needlessly, deliberately, and dangerously escalates Mr.
         Bickford’s situation into a serious excessive-use-of-force event.

         35.     In the moments that followed, Defendant Teeters needlessly, deliberately, and

  dangerously escalated Mr. Bickford’s situation into a serious use-of-force incident, all the while

  acting consistent with and pursuant to BPD’s customs, policies, and practices.

         36.     While talking with Officer Scott, Mr. Bickford kicked off his left shoe towards

  the wall near the door where the officers were standing, still frustrated by his truly exasperating

  situation. The shoe harmlessly struck the wall at least a foot away from Officer Scott and

  benignly fell to the ground. Around the same time, Mr. Bickford also benignly knocked off his

  other shoe next to him on the ground in an effort to avoid any confusion that he might attempt to

  kick that shoe towards the door.

         37.     No more than five seconds later, Defendant Teeters shoved Officer Scott aside

  and aggressively charged into Mr. Bickford’s cell, while Scott gleefully exclaimed “get him!”

  Before this moment, no officer had been near Mr. Bickford in his cell or been threatened by Mr.

  Bickford.

         38.     Teeters’ checked off Scott’s body camera with his elbow as he barnstormed into

  Mr. Bickford’s cell.

         39.     Without issuing any commands of any kind, Defendant Teeters—who was at least

  double the weight of Mr. Bickford—forcefully and without justification struck Mr. Bickford with

  a powerful karate chop to his left collarbone area.




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          40.     Next, Defendant Teeters unjustifiably flung Mr. Bickford around and slammed

  him head and face-first into a concrete wall. This body slam delivered an absolutely excruciating

  and crushing blow to Mr. Bickford’s head and face.

          41.     Teeters then threw Mr. Bickford to the concrete ground on his stomach.

          42.     There existed no objectively reasonable basis for Defendant Teeters to go hands-

  on with Mr. Bickford at all.

          43.     Mr. Bickford was not physically resisting in any way, was not failing to comply

  with any command at the time and was not threatening anyone. Defendant Teeters intentionally

  and/or recklessly chose to escalate the situation needlessly and intentionally—a situation that

  could have been effectively addressed merely by the use of words (which Teeters failed to even

  try to use in a meaningful way)—into one involving severe and excessive physical force.

          44.     Officer Ross and Scott stormed in Mr. Bickford’s cell soon after Defendant

  Teeters did.

          45.     Officer Scott manifested downright stunning indifference to Teeters’ unnecessary

  escalation of the situation, casually blowing a bubble with her chewing gum around the time she

  saw Defendant Teeters indefensibly beat Mr. Bickford.

          46.     After Defendant Teeters slammed Mr. Bickford into the ground, he held down

  and crushed his upper body while Officer Scott dug her knee into his lower back area and

  assisted in restraining his legs.

          47.     Officer Ross restrained Mr. Bickford’s wrists behind his back with handcuffs with

  Officer Scott’s assistance.

          48.     Defendant Teeters sadistically intermittently choked Mr. Bickford during this

  time, while Mr. Bickford was fully under the control of law enforcement on the ground.



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          49.      During this, Mr. Bickford audibly begged—when he could breathe—for Teeters

  to stop crushing his face into the ground but Defendant Teeters kept crushing his face into the

  ground anyway for no reason other than to maliciously inflict pain and other injuries on Mr.

  Bickford.

          50.      Mr. Bickford also notably calmly and politely (given the terrible abuse he was

  enduring) said things like: “Why did you do that,” “I’m not resisting you,” “Stop hitting my face

  against the floor please,” and “Please stop pushing my face.”

          51.      Officer Scott asked Mr. Bickford if he was going to comply as Teeters was

  crushing his face and intermittently strangling him, to which Mr. Bickford rightfully queried,

  “How am I not complying?” Mr. Bickford was not failing to comply with any command at the

  time.

          52.      Indeed, at no relevant time did Mr. Bickford actively or passively resist any

  officer, attempt to flee from his cell, or try to (or actually) physically harm anyone. Of course,

  Mr. Bickford obviously was not wielding a weapon either, as he had just been searched by the

  police and placed in a single-person holding cell. There was no objectively reasonable basis for

  Defendant Teeters or anyone else to use any degree of physical force against Mr. Bickford at any

  relevant time.

          53.      During Mr. Bickford’s beating at Teeters’ hands, Officer Skigen brought a

  restraint chair into the cell.

          54.      Defendant Teeters forcibly picked Mr. Bickford up once his hands were cuffed

  behind his back and arbitrarily threw him into the restraint chair. Mr. Bickford’s horrifying

  ordeal in the Broomfield Detention Center was far from over.




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          55.     Defendant Teeters yelled at Mr. Bickford that kicking his shoe at Officer Scott

  was assault, to which Mr. Bickford correctly stated that he had kicked his shoe at the wall in

  frustration, not at Officer Scott. At all relevant times, Defendant Teeters knew Mr. Bickford had

  not assaulted Officer Scott.

          56.     Tellingly, Mr. Bickford was never charged with, much less convicted of, a single

  criminal offense related to his interaction with anyone in jail, including but not limited to Teeters

  and Scott.

          57.     After Teeters threw Mr. Bickford in the restraint chair, Teeters and Officers Scott,

  Heaton, Mazzocco, and Skigen began strapping Mr. Bickford tightly into the chair, restraining

  his left and right foot, his left and right shoulder, and his waist each in individual straps. All the

  while, Mr. Bickford’s wrists remained handcuffed behind his back.

          58.     While being restrained, Mr. Bickford asked why Defendant Teeters had used such

  an unnecessary amount of force on him. Defendant Teeters angrily responded “you wanna be the

  victim!” Defendant Teeters plainly was trying to get a rise out of Mr. Bickford in order to

  escalate the situation yet again.

          Mr. Bickford continues to suffer terribly in the jail from the effects of Defendant
          Teeters’ brutal beating of him.

          59.     After Defendant Teeters brutally beat Mr. Bickford, Teeters and others left him in

  the restraint chair with his hands cuffed behind his back for over three hours in his single-person

  holding cell, until around 11:30 pm.

          60.     Even Defendant Teeters admitted in his written report that he forced Mr. Bickford

  to remain in the restraint chair for longer than the “standard” two hours.




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          61.     While completely restrained in the restraint chair, blood from Mr. Bickford’s

   smashed face accumulated down his face and sweatshirt. Mr. Bickford could not so much as

   wipe the blood from his face during this time because he was tightly strapped into the chair.

          62.     During this time, Mr. Bickford also was weeping from the amount of pain he was

   experiencing and shivering in his cold single-person cell.

          63.     Eventually, Officer Ross noticed how bloody Mr. Bickford’s face was getting and

   attempted to wipe his face off.

          64.     This attempted wiping caused Mr. Bickford to recoil in pain, so much so that he

   had to have Officer Ross hold the wipe near his face so he could his face into it himself.

          65.     When officers finally did release Mr. Bickford from the restraint chair, officers

   placed Mr. Bickford in a suicide smock and initially left him alone in the holding cell without

   even a place to sit or lie down besides the cold hard concrete floor.

          66.     Mr. Bickford then remained in the Broomfield Detention Center for many more

   nightmarish hours.

          67.     During this time, Mr. Bickford’s head and face continued to be in excruciating

   pain. In addition, the right side of his face became increasingly swollen and bruised.

          68.     Mr. Bickford also could not keep any food down, repeatedly vomited blood, and

   believes he suffered a seizure or seizures while alone in his cell.

          69.     Once Mr. Bickford was eventually allowed to go to the bathroom to wash his

   bloodied face, jail staff callously told him something along the lines of: “Make sure you don’t

   get blood everywhere.”




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          70.     When Mr. Bickford was finally released from jail on the morning of October 4,

   2019, he still was in excruciating physical pain and psychologically terrorized by the prolonged

   torment Defendant Teeters had needlessly inflicted upon him.

          71.     As a result of Defendant Teeters’ intentional conduct described herein, including

   his manifestly excessive use of force, Mr. Bickford suffered serious and lasting injuries, included

   but not limited to severe pain and injuries to the side of his face and his nose, damaged teeth,

   facial disfigurement, and severe pain throughout the right side of his face that persists.

          72.     Defendant Teeters’ excessive use of force also caused Mr. Bickford to suffer

   symptoms consistent with a traumatic brain injury, such as vomiting shortly after Teeters

   slammed his head into the wall, and a severe headache, dizziness, and disorientation at the time.

   As is often the case with people who have suffered significant traumatic brain injuries, Mr.

   Bickford continues to experience periodic headaches, visual difficulty, and is unable to think as

   clearly compared to before the excessive force event.

          73.     Additionally, Mr. Bickford has suffered severe ongoing psychological trauma as

   a result of Defendant Teeters’ brutal and excessive beating—including his head injury caused

   when Defendant Teeters smashed his head into the concrete cell wall—such as anxiety,

   depression, and PTSD.

          Defendant Broomfield police department’s custom, policy, and practice of excessive
          force.

          74.     Defendant Broomfield has created, fostered, tolerated, and perpetuated an

   environment and culture of police brutality and deliberate indifference to the constitutional and

   statutory rights of citizens and residents. It was foreseeable and virtually inevitable that an

   incident like the one involving Mr. Bickford would happen under the circumstances.




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          75.     This culture and environment of brutality, and Broomfield’s lack of training,

   supervision, and discipline of law enforcement officers is evidenced by, among other things, the

   number of instances of excessive force perpetrated by Broomfield law enforcement.

          76.     For years before the events underlying Mr. Bickford’s case, up through the

   present, there has been a well-established culture among Broomfield law enforcement pursuant

   to which the use of excessive force is acceptable, customary, and does not result in discipline.

          77.     On April 1, 2015, Mazen Arakji filed suit against Broomfield and 28 BPD

   officers, including Officer Scott. Mr. Arakji asserted that BPD officers had engaged in a pattern

   of violating his constitutional rights both through interactions on the street and interactions in

   Broomfield Detention Center. When first in Broomfield Detention Center, Mr. Arakji asserted

   among other claims that he was violently manhandled by officers when being placed in his cell.

   The next time Mr. Arakji was in Broomfield Detention Center, he claimed that he was

   unreasonably beaten and tasered by several officers when he simply stated he was being

   unlawfully detained and attempt to walk past an officer. Mr. Arakji was then unnecessarily

   restrained in a restraint chair by Officer Scott and was not provided food or a phone call while in

   custody.

          78.     On March 14, 2018, Siraaj Al-Baaj filed suit against BPD Officer Bennet for use

   of excessive force. Mr. Al-Baaj asserted that he was at a concert at the 1stBank Center when he

   had a panic attack and was told by private security staff that he could return once his attack

   subsided, yet when he attempted to return, Officer Bennet prevented him from doing. Officer

   Bennet grabbed Mr. Al-Baaj’s arm, restrained hands behind his back then pushed him through

   the Center's doors and body-slammed him to the ground. Officer Bennett then flipped Mr. Al-

   Baaj onto his stomach and multiple officers held him down while Officer Bennett handcuffed



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   him in an excessively tight manner that left red marks on Mr. Al-Baaj’s wrists, as well as scrapes

   and lacerations on his elbow and shoulder. Due to Officer Bennet’s excessive use of force, Mr.

   Al-Baaj suffered a dislocated left hip, and his hips no longer align causing his back to curve. The

   case is still ongoing.

           79.     As reported by the Denver Post, On December 9, 2019, a family sued BPD

   Officers Weiman and Norton for using excessive force on their 15-year-old disabled daughter,

   A.N. The family asserted that A.N. and one of her friends got into a disagreement that left them

   with minor scraps. A.N. suffered from a rare disorder that caused her muscles, tendons, and other

   soft tissue to gradually turn into bone; this severely limited her ability to move and even minor,

   superficial injuries could cause serious harm. Knowing about the disorder, A.N.’s friend called

   911 for medical assistance. However, when BPD officers arrived, they arrested A.N. and

   restrained her with handcuffs. Despite being told about A.N.’s disorder, officers took her to be

   medically cleared before she was booked into a juvenile detention. During this medical

   examination, A.N had her arm forcibly pulled upwards causing her great pain due to her limited

   range of movement, was pinned to an exam table by officers, and was further painfully restrained

   by having her legs bound together in a leg hobble. Officers then connected the hobble to A.N.’s

   handcuffs, forcing her into a sitting position that caused her to scream in pain. Due to the BPD’s

   excessive use of force, A.N. suffered from an increased calcification and bone growth around her

   right shoulder, wrists, and chest, and other injuries. The case is still ongoing.

           80.     These cases provide only representative examples of the custom and practice of

   excessive force by Broomfield law enforcement officers, and the lack of any training,

   supervision, or discipline on the part of Broomfield to appropriately address these obviously

   dangerous and unlawful patterns of conduct.



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          81.     Broomfield’s culture of excessive force is further highlighted by Mr. Bickford’s

   situation in the present case. An individual wielding authority as the Master Police Officer for

   Broomfield Detention Center, Defendant Teeters, was the very person who subjected Mr.

   Bickford to a patently unreasonable beating that has left him physically and psychologically

   injured to this day.

          82.     Broomfield’s culture of condoning excessive force is further shown by the

   instances of blatant indifference that other jail staff exhibited to the excessive force Mr. Bickford

   endured. For instance, Officer Scott casually blew a bubble with her chewing gum as she

   watched Defendant Teeters brutally beat Mr. Bickford. Also, Broomfield jail staff callously

   refused Mr. Bickford a liquid diet for days even though he plainly could not chew any food

   because of his obviously serious facial injuries.

          83.     The lawsuits and other incidents involving excessive force identified above are

   illustrative of the culture and customs, policies, and practices that existed during the Defendant

   Teeters’ beating of Mr. Bickford. They were the result of Broomfield’s conscious and deliberate

   policy choices and were the moving force behind the injuries inflicted on Mr. Bickford.

          Broomfield fails to train, supervise, or discipline officers when it comes to using
          excessive force.

          84.     Broomfield inadequately trains, supervises, and disciplines officers like

   Defendant Teeters on the proper use of force to use on individuals in pre-trial custody like Mr.

   Bickford.

          85.     As described above, Defendant Teeters needlessly and brutally beat Mr. Bickford

   while he was in his single-person cell.

          86.     Teeters’ unreasonable use of force occurred during a situation during which an

   individual was frustrated about being held in custody and was attempting to verbally


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   communicate that frustration to officers. Such circumstances foreseeably occur in a jail setting

   on a regular basis, and therefore foreseeably must be appropriately addressed by jail staff (like

   Defendant Teeters) frequently.

             87.   Despite both the frequency of situations like Mr. Bickford’s and blatant

   unconstitutionality of Defendant Teeters’ actions, many officers and jail staff displayed

   inadequate responses to the excessive force Mr. Bickford was put through. As mentioned,

   Officer Scott casually blew a bubblegum bubble as Defendant Teeters beat Mr. Bickford. Also,

   jail staff apparently were more worried about Mr. Bickford possibly dirtying the bathroom with

   his blood than the severe swelling, bruising, and bleeding of Mr. Bickford’s face, or his bloody

   vomiting.

             88.   The inadequacy of Broomfield’s training and supervision is also evident from the

   reports of Officers Ross, Scott, Skigen, Mazzocco, and Heaton concerning Mr. Bickford, which

   all directly conflict with either camera footage of the incident and/or Defendant Teeters’ own

   report.

             89.   For example, Officer Ross falsely reported that Defendant Teeters beat Mr.

   Bickford in order to “neutralize” him as a threat, yet Mr. Bickford was not being threatening at

   all when Teeters beat him. Reinforcing this point, Mr. Bickford was never even charged with any

   offense related to his actions while in custody, or even issued a disciplinary charge by the jail.

             90.   Officer Heaton falsely reported that Mr. Bickford was uncooperative while being

   handcuffed, yet Defendant Teeters’ report (correctly) states that Mr. Bickford was not resisting

   whatsoever when being restrained.

             91.   Addressing other obviously important issues, however, Defendant Teeters lied in

   his report. For instance, Defendant Teeters falsely stated in his report that Mr. Bickford had



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   swelling around face and eye before he beat Mr. Bickford in an effort to cover up the serious

   injuries he knew he had caused to Mr. Bickford.

          92.     Broomfield’s inadequate training and supervision are also highlighted by the fact

   that an individual wielding both large amounts of experience with Broomfield Jail policy as an

   MPO and supervisory authority as the Active Watch Commander that night, Defendant Teeters,

   was the very person who subjected Mr. Bickford to excessive force.

          93.     The inadequate training and supervision of Defendant Teeters and other jail staff

   demonstrate deliberate indifference on the part of Broomfield toward persons under the custody

   and care of Broomfield jail.

          94.     Further, it is believed that Broomfield has failed to discipline Defendant Teeters

   at all for violating Mr. Bickford’s constitutional rights. This confirms that, at all relevant times,

   Defendant Teeters was acting in accordance with Broomfield’s policies, customs, and practices.

          95.     Further, at all relevant times, Defendant Teeters was acting consistent with and

   pursuant to Broomfield’s training of him. Defendant Teeters was at all relevant times acting in

   accordance with Broomfield’s training of him.

          96.     Had Broomfield enacted a different and better training policy concerning proper

   uses of force by jail staff when dealing with dismayed but non-violent individuals in jail custody

   (such as appropriate training on verbal and other non-physical de-escalation techniques), Mr.

   Bickford would not have suffered the unnecessary beating he was subjected to at the hands of

   Defendant Teeters.

          97.     Broomfield has failed to change the way it trains or supervises its jails staff in

   response to the unjustifiable beating of Mr. Bickford despite being aware of the clear and




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   significant deficiencies in its training regimen underscored by Mr. Bickford’s unlawful and

   wholly preventable beating.

          98.     Defendant Broomfield was aware of the aforementioned deficiencies in its

   training, supervision, and discipline well before Teeters’ beating of Mr. Bickford as well because

   of, e.g., the obvious deficiencies in its training and other excessive force cases described above.

          99.     Moreover, Defendant Teeters is no stranger to the use of excessive force against

   inmates. On June 27, 2018, Defendant Teeters twice Tased Inmate Evan Pfosi—the second full

   five-second Taser cycle delivered after Mr. Pfosi was obviously disabled and nonthreatening,

   and only able to stand with the assistance of other BPD officers.

          100.    As he awaited transfer to Colorado State Hospital for mental health care, Mr.

   Pfosi began to block the windows of his cell with blankets and other objects from his cell. When

   a BPD sergeant attempted to remove the objects from Mr. Pfosi’s cell window, Mr. Pfosi

   approached to discuss the situation. Approximately six BPD personnel, including Defendant

   Teeters, stood outside the cell.

          101.    As Mr. Pfosi moved toward the sergeant, Defendant Teeters immediately and

   unnecessarily tased him for five seconds. Mr. Pfosi face went blank and he fell back against the

   cell wall next to the door, twitching and shaking. The sergeant and a second BPD officer stepped

   forward and supported Mr. Pfosi so that he would not fall to the ground; he was obviously

   disabled by the Taser. Mr. Pfosi was no longer able to act of his own volition, and was literally in

   the arms of BPD officers, yet as the officers moved Mr. Pfosi toward the cell door without

   incident, Defendant Teeters discharged a second taser cartridge and tased Mr. Pfosi for an

   additional five seconds.




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          102.     Approximately two seconds passed before the first Tasing and the second;

   Defendant Teeters offered no warning or orders of any kind to Mr. Pfosi prior to either tasing.

   Finally, after the second tasing, Defendant Teeters began to give Mr. Pfosi orders to go to the

   ground, and the officers supporting him dumped him to the jail floor. As other officers moved

   Mr. Pfosi—who offered no resistance whatsoever—into a restraint chair, Defendant Teeters

   threatened to tase him for a third time.

          103.     The BPD investigator assigned to review Defendant Teeters’ conduct in the

   incident with Mr. Pfosi identified numerous violations of BPD policy and training, including but

   not limited to an unnecessary second taser discharge, a failure to give warning or orders prior to

   using the taser, a failure to attempt to deescalate the situation (or even speak to Mr. Pfosi) or

   ensure that others had done so prior to using force, and discharging a taser with fellow officers as

   the backdrop. Nonetheless, Defendant Broomfield failed to discipline Mr. Teeters in any way for

   his obviously abusive and unconstitutional actions.

          104.     As a direct and proximate result of Broomfield’s inadequate training, supervision,

   and discipline, along with its other customs, policies, and practices described herein, Mr.

   Bickford’s constitutional rights were violated, which caused him substantial damages.

                              STATEMENT OF CLAIMS FOR RELIEF

              (42 U.S.C. § 1983 Fourteenth Amendment Violation – Excessive Force)
                                     (Against all Defendants)

          105.     Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set

   forth herein.

          106.     The actions of Defendants as described herein, while acting under color of state

   law, intentionally deprived Plaintiff of his securities, rights, privileges, liberties, and immunities

   secured by the Constitution of the United States of America, including his right to be free from


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   excessive force as guaranteed by the Fourteenth Amendment to the Constitution of the United

   States of America and 42 U.S.C. § 1983, in that the Defendant Teeters had no reasonable basis to

   believe that Plaintiff was a threat to anyone or had engaged in any misconduct before subjecting

   him to excessive force.

          107.       Defendant Teeters’ actions, as described above, were objectively unreasonable in

   light of the facts and circumstances confronting them.

          108.       Defendant Teeters’ actions, as described above, were motivated by an intent to

   harm Plaintiff.

          109.       Defendant Teeters’ actions, as described herein, were undertaken intentionally,

   willfully, and wantonly.

          110.       Defendant Teeters’ conduct violated clearly established rights belonging to

   Plaintiff of which reasonable law enforcement officers knew or should have known.

          111.       The acts of Defendant Teeters were engaged in pursuant to the custom, policy,

   and practice of Defendant Broomfield, which encourages, condones, tolerates, and ratifies the

   use of excessive force by law in its law enforcement officers.

          112.       One such custom, policy, and practice of Defendant Broomfield is its failure to

   properly hire, train, supervise, and/or discipline members of its jail staff regarding the proper use

   of physical force with pre-trial detainees.

          113.       This inadequate hiring, training, and/or supervision results from a conscious or

   deliberate choice to follow a course of action from among various alternatives available to

   Defendant Broomfield.




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          114.    Such failure to properly hire, train and supervise was a moving force behind and

   proximate cause of Defendant Teeters’ use of excessive force against Plaintiff, and constitutes an

   unconstitutional policy, procedure, custom, and/or practice.

          115.    Plaintiff has been and continues to be damaged by Defendant Teeters’ use of

   excessive force against him.

          116.    The acts or omissions of each Defendant, including the unconstitutional policy,

   procedure, custom, and/or practice described herein, were the legal and proximate cause of, and

   the moving force behind, Plaintiff’s damages.

          117.    As a direct result of Defendants’ unlawful action as described above, Plaintiff

   suffered actual physical, emotional, and economic injuries in an amount to be proven at trial.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor

   and against the Defendants, and grant:

          (a)     Appropriate declaratory and other injunctive and/or equitable relief;

          (b)     Compensatory and consequential damages, including damages for physical

                  injuries and pain, emotional distress, loss of reputation, humiliation, loss of

                  enjoyment of life, and other pain and suffering on all claims allowed by law in an

                  amount to be determined at trial;

          (c)     All economic losses on all claims allowed by law;

          (d)     Punitive damages on all claims allowed by law and in an amount to be

                  determined at trial;

          (e)     Attorneys’ fees and the costs associated with this action, including those

                  associated with expert witness fees, on all claims allowed by law;

          (f)     Pre and post-judgment interest at the lawful rate; and



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        (g)   Any further relief that this court deems just and proper, and any other relief as

              allowed by law.

   PLAINTIFF REQUESTS A TRIAL TO A JURY ON ALL ISSUES SO TRIABLE.

              Dated this 30th day of September 2021

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